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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :      Criminal No. 21-cr-382 (PLF)
                                               :
CHRISTOPHER WARNAGIRIS,                        :
             Defendant.                        :
                                               :
                                               :

               OPPOSITION TO DEFENDANT’S MOTION TO STAY CASE

       On November 18, 2022, defendant Christopher Warnagiris moved to stay (ECF No. 38)

this criminal case pending the U.S. Court of Appeals’ decision on the government’s June 22, 2022

interlocutory appeal of Judge Carl J. Nichols’ decision to dismiss the 18 U.S.C. § 1512(c)(2)

charge in United States v. Miller, No. 1:21-CR-00119 (CJN), 2022 WL 823070 (D.D.C. Mar. 7,

2022), reconsideration denied, No. 1:21-CR-00119 (CJN), 2022 WL 1718984 (D.D.C. May 27,

2022), appeal filed No. 22-3041 (D.C. Cir.).

       The government opposes staying this case.

       First, there is no timetable for resolution of the Miller appeal; while briefing is now

complete and oral argument is set for December 12, 2022, there is no particular time in which the

D.C. Circuit is required to issue its opinion. Second, the pending Miller appeal is not dispositive

of this entire case; it presents a legal question about only one of the nine counts (and one of three

felonies) charged against the defendant here. Third, should the D.C. Circuit hold that Section

1512(c)(2) may not be applied to the alleged conduct at issue here, this Court or the D.C. Circuit

could address that issue at some later point in this case. Fourth and finally, on August 2, 2022,

Judge Christopher R. Cooper considered and denied a similar defense request in U.S. v. Bacon,

21-cr-0488-CRC, stating his reasoning in full:
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        MINUTE ORDER denying 44 Defendant’s Motion to Continue Trial and Exclude
        Time Under the Speedy Trial Act. The Court is set to hold trial in this matter on
        October 17, 2022. The Defendant has moved for a continuance on the ground that
        a legal issue presented in his 43 Motion to Dismiss Count Six of the Indictment is
        currently pending on appeal before the D.C. Circuit. The Court denies the motion.
        The operative indictment charges Mr. Bacon with six counts. All six are based on
        the same factual predicate—Mr. Bacon’s alleged conduct at the U.S. Capitol on
        January 6, 2021. The pending D.C. Circuit appeal presents a purely legal question
        about only one of the counts—Obstruction of an Official Proceeding and Aiding
        and Abetting the Obstruction of an Official Proceeding, in violation of 18 U.S.C.
        sections 1512(c)(2) and 2. Should the D.C. Circuit agree with Mr. Bacon that
        Section 1512 may not be applied to the alleged conduct at issue here, the Court—
        or the D.C. Circuit on direct appeal in the event of a conviction following trial—
        could address that issue later. But that possibility presents neither a need nor a
        reason to otherwise postpone trial on this matter. Accordingly, the Court finds that
        a continuance will not conserve judicial resources and is not in the best interest of
        the parties or the Court. So Ordered by Judge Christopher R. Cooper on 8/2/2022.
        (lccrc2) (Entered: 08/02/2022)

        In sum, to stay a prosecution for what is currently an indefinite period of time requires a

compelling justification, which is not present here. 1 The Court should deny the defendant’s motion

to stay this case.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052


                                      By:     /s/ Rebekah E. Lederer
                                              Rebekah Lederer
                                              Pennsylvania Bar No. 320922
                                              Assistant United States Attorney
                                              U.S Attorney’s Office for District of Columbia
                                              601 D St. N.W, Washington, DC 20530

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  The undersigned is not aware of any Judge who has granted a stay pending the D.C. Circuit’s
decision in Miller, except for Judge Nichols in United States v. Bisignano, 21-cr-036-CJN (July
12, 2022). In that case, the defendant had previously pled guilty to Section 1512(c)(2) and other
counts on August 4, 2021. Following Judge Nichols’ subsequent opinion in Miller, the defendant
moved to withdraw her guilty plea (also before Judge Nichols) based on a claim of actual
innocence. Under those unique circumstances, which are not present here, Judge Nichols stayed
the case pending the Miller appeal.
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                               Tel. No. (202) 252-7012
                               Email: rebekah.lederer@usdoj.gov

                         By:   /s/ Jennifer Rozzoni

                               JENNIFER M. ROZZONI
                               NM Bar No. 14703
                               Assistant United States Attorney - Detailee
                               United States Attorney’s Office
                               203 3rd Street, Suite 900
                               Albuquerque, New Mexico 87102
                               Tel. No. 505-350-6818
                               Email: jennifer.m.rozzoni@usdoj.gov




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                                CERTIFICATE OF SERVICE

        On this 29th day of November, a copy of the foregoing was served on counsel of record
for the defendant via the Court’s Electronic Filing System.


                                    By:    /s/ Rebekah Lederer
                                           Rebekah Lederer
                                           Assistant United States Attorney

                                           /s/ Jennifer Rozzoni
                                           Jennifer Rozzoni
                                           Assistant United States Attorney
